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      Fill in this information to identify the case:

                         Eagle Rock Timber, Inc.
      Debtor name __________________________________________________________________

      United States Bankruptcy Court for the: ______________________ District of _________
                                                                                  Idaho


      Case number (If known):      _________________________
                                                                                  (State)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete                 Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code           email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                   contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                 professional          unliquidated, total claim amount and deduction for value of
                                                                                 services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if   Deduction for      Unsecured
                                                                                                                       partially         value of           claim
                                                                                                                       secured           collateral or
                                                                                                                                         setoff

1         Solid Rock LLC.                             Sonny Heitolla
          5509 Columbine Lane                                                          LEGAL             Disputed
          San Antonio, TX 76904                       (833) 753-7625                   JUDGEMNET                                                              $675,127.17



      Rock Hard Crushing LLC                       Matt Hanson                   LEGAL                    Disputed
2     8426 Fish Harchery Rd,
                                                   (262) 539-2840                JUDGEMNET
      Burlington, WI 53105
                                                                                                                                                             $402,683.52


3     RDO Equipment                                Customer service              Equipment                contingent
      2000 Industrial Drive                        (701) 223-5798                purchase
      Bismark ND 58501                                                                                                                                       $100,000.00



4     American Express                             Customer Service              bussiness                contingent
      PO Box 96001                                 800 528-4000                  expense
      Los Angeles, CA 90096 - 8000                                                                                                                             $24,165.42



                                                   Customer Service              Professional          unliquidated
5       Nation Wide Surety                         866-387-0457                  Services                                                                     $87,241.67
        1100 Locust Street
        Dept. 2006
        Des Moines, IA 50391-2006


6     Bitco                                        Customer Service              Professional
      225 South Lake Avenue                                                      Services
      Suite 1050                                   209-834-4150                                                                                               $87,205.00
      Pasadena, CA 91101                                                                               unliquidated


      Shoshone- Bannock Tribes                     Customer Service              Trade Debt
7     PO Box 808                                   208 478-3885
      Fort Hall, ID 83203                                                                              contingent                                            $106,073.45



8     Holden Kidwell, Hahn & Conrad                Customer Service              Professional             Disputed
      PO Box 5130                                  208 5203-0620
      Idaho Falls, ID 83405                                                      Services                                                                     93,000.00




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    Debtor        Eagle Rock Timber, Inc.
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated, total claim amount and deduction for value of
                                                                         services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                  Total claim, if   Deduction for    Unsecured
                                                                                                                  partially         value of         claim
                                                                                                                  secured           collateral or
                                                                                                                                    setoff

9     Electrical Support Services
                                               Customer Service               Professional
      1037 E 1400 N                            208 251-6022                   Services            Disputed
      Shelly, ID 83274                                                                                                                                 $18,686.37


10    Joyce Wright
      13981 14th St. NW                        701 290-9845                  Mine                unliquidated
      Arnegard, ND 58835                                                     Lease                                                                     $14,000.00


11 Carol Molberg                                                                                unliquidated
      113 Davis St N                             701 839-5838                 Mine
      PO Box 176                                                              Lease                                                                   $14,000.00
      Burlington, ND 58722

12 Gloria J Hoff                                                                                unliquidated
      522 Williams Ave.                                                       Mine
      Plentywood, MT 59254                                                    Lease                                                                   $14,000.00


13 JJ Electric
      3579 107th Ave NW                         701 842-4555                Rent to Own           Disputed
      Keene, ND 58847                                                                                                                                 $12,000.00


14 Blue Bird
      3000 N Wright Rd                          208 529-4925               Business to
                                                                           Business loan          unliquified                                          $270,000.00
      Idaho Falls, ID 83401


15 Bridger Mountain Floors LLc
      226 Arden Drive
                                                 406 813-6545                Trade Cost           contingent                                          $49,129.00
      Belgrade, MT 59714


16    The Gardner Law Firm
      745 E Mullberry Ave. STE5                                             Professional
                                                 210 733-8191                                    unliquidated                                         $65,000.00
      San Antonio, TX 78212                                                 Service


17 CH Spencer
      PO Box 26066                             801 975-0300                  Trade Debt         unliquidated
      Salt Lake City, UT 84104                                                                                                                        $99,055.12


18 Diversified Metal Products                                               Legal
      3710 N Yellowstone HWY                   208 529-9655                                       contingent
      Idaho Falls, ID 83401                                                 Judgement                                                                  $361,993.00



19 Alaska Airlines
      PO Box 60119                                                           Professional
                                                206 433-2200                 Services              unliquidated                                        $28,000.00
      Industry, CA 91716


20 Greater Gallatin Landscape
      PO Box 4036                                 406 570-3784                                     contingent                                         $4,600.00
      Bozeman, MT 89772                                                      Trade Debt




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